                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

    PATRICK HENRY MURPHY,                              §
                      Plaintiff,                       §
                                                       §
    v.                                                 §            CIVIL ACTION NO. 4:19-cv-1106
                                                       §
    TDCJ EXECUTIVE DIRECTOR                            §
    BRYAN COLLIER, CID DIRECTOR                        §
    BOBBY LUMPKIN, AND WARDEN                          §
    DENNIS CROWLEY,    Defendants.                     §

                                             JOINT ADVISORY

         The parties jointly submit this advisory regarding the status of Mr. Murphy’s claims.

The Court reopened this case following an administrative stay and directed the parties to

submit a joint proposed scheduling order. ECF No. 103.

         Following the Supreme Court opinion in Ramirez v. Collier, 142 S. Ct. 1264 (2022),

TDCJ approved Murphy’s request for his chosen spiritual advisor to audibly chant in the

execution chamber during the execution process. The parties believe that claim to be resolved

and will memorialize the accommodation in a filing. However, the parties continue to actively

discuss the details of Murphy’s request related to the pre-execution holding area. The current

policy allows spiritual advisor visitation in the pre-execution holding area from 3:00 p.m. to

5:00 p.m.1 Accordingly, the time at issue is the time when Murphy will arrive at the pre-

execution holding area on the afternoon of his execution through 3:00 p.m., and the hour

from 5:00 to 6:00 p.m. when the execution will commence. The parties are discussing the




1        That time must be split with an attorney should the prisoner desire an attorney visit.

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secular tasks that must be completed during the time frame at issue and the logistics of when

the spiritual advisor may be brought into the holding area.

       Because the parties are still discussing the outstanding religious accommodations, the

parties respectfully suggest that a scheduling order would be premature. It is unclear whether

any part of Murphy’s pre-execution holding area claim will be unresolved; so the parties are

unclear what may need to be scheduled for briefing. Counsel for the parties commit to actively

engage in continued discussions in an attempt to resolve the outstanding issues, or to quickly

notify the Court if it is determined that an issue cannot be mutually resolved among the parties.


                                     Respectfully submitted.


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                                 NOTICE OF ELECTRONIC FILING
        I, LEAH O’LEARY, Assistant Attorney General of Texas, certify that I have electronically
submitted for filing a true and correct copy of the foregoing in accordance with the Electronic Case
Files system of the Southern District of Texas, on June 1, 2022.

                                               /s/ Leah O’Leary
                                               LEAH O’LEARY
                                               Assistant Attorney General


                                     CERTIFICATE OF SERVICE
        I, LEAH O’LEARY, Assistant Attorney General of Texas, certify that a true and correct copy
of the foregoing has been served on all attorneys of record by electronic notification through the ECF
system for the Southern District of Texas on June 1, 2022, to all attorneys of record.

                                               /s/ Leah O’Leary
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